               Case
                Case18-11439-mdc
                     18-11439-mdc Doc
                                   Doc117-6
                                         FiledFiled
                                               03/02/18
                                                    04/26/18
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                                                                              13:40:20
                                                                                  18:21:44
                                                                                        DescDesc
                                                                                             Main
                                        Document
                                           Exhibit E Page 1  51ofof164

 Fill in this information to identify your case:

 Debtor 1                 Ruth Lynn Mahon
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF PENNSYLVANIA

 Case number
 (if known)                                                                                                                Check if this is an
                                                                                                                           amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                              12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Wells Fargo Home Equity                              Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of       1214 Harding Drive Havertown,                      Reaffirmation Agreement.
    property             PA 19083                                           Retain the property and [explain]:
    securing debt:       Primary residence. Single
                         family twin home. 3 bed 1 and
                         half bath


    Creditor's         Wells Fargo Home Mortgage                            Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of       1214 Harding Drive Havertown,                      Reaffirmation Agreement.
    property             PA 19083                                           Retain the property and [explain]:
    securing debt:       Primary residence. Single
                         family twin home. 3 bed 1 and
                         half bath

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                            page 1

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